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EverBank

= Eve l Ba N k PO Box 44060
Jacksonville, FL 32231
everbank.com

October 23, 2024

Via FedEx

Jessica J. Lyublanovits, Clerk

United States District Court, Northern District of Florida

Joseph Woodrow Hatchett United States Courthouse and Federal Building
111.N. Adams St., Third Floor

Tallahassee, Florida 32301

Re: 10,052, LLC v. John Martin and Beyond Recognition, LLC
Case No.: 4:24-mc00126-MW-MAF
Answer to Garnishment
Dear Ms. Lyublanovits:

EverBank Financial Corporation (“EverBank”) was served with a Writ of Garnishment as to
Defendants John Martin and Beyond Recognition, LLC on October 9, 2024. As EverBank is filing
pro se, enclosed please find an original and one (1) copy of EverBank’s Answer to Garnishment
for filing. Kindly file the enclosed Answer and return a filed copy in the stamped self-addressed

envelope provided.

Should you have any questions, please do not hesitate to contact me.

Sincerely,
ruustdrond,

everbank.com

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